4:09-cr-03079-RGK-CRZ        Doc # 36    Filed: 09/25/09   Page 1 of 1 - Page ID # 55




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                Plaintiff,               )                 4:09CR3079
                                         )
          V.                             )
                                         )                   ORDER
ANDREW LAMAR CAMPBELL,                   )
                                         )
                Defendants.              )

    IT IS ORDERED:

    1)    The defendant’s unopposed motion to continue his change of plea
          hearing and the hearing on his motion for substance abuse evaluation,
          (filing no. 34), is granted, and

    2)    The hearing presently scheduled for Friday, September 25, 2009 at 2:00
          P.M. is cancelled. Counsel shall contact my judicial assistant, Kris
          Leininger, on Monday, September 28, 2009 to arrange a new date and
          time. The time remains excluded for Speedy Trial Act purposes.

    DATED this 25th day of September, 2009.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        United States District Judge
